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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                        BRIAN H. ROBB,
                                   7                                                       Case No. 16-cv-00151-SI
                                                       Plaintiff,
                                   8
                                                  v.                                       ORDER DENYING DEFENDANTS'
                                   9                                                       MOTIONS TO DISMISS
                                        FITBIT INC., et al.,
                                  10                                                       Re: Dkt. Nos. 107, 110
                                                       Defendants.
                                  11

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                                  13           Defendants have brought motions to dismiss the claims of Lead Plaintiff Fitbit Investor

                                  14   Group. Dkt. Nos. 107, 110. Pursuant to Civil Local Rule 7-1(b), the Court determines that this

                                  15   matter is appropriate for resolution without oral argument and VACATES the hearing set for

                                  16   October 28, 2016. For the reasons set forth below, the Court DENIES defendants’ motions to

                                  17   dismiss.

                                  18
                                  19                                            BACKGROUND

                                  20   I.      Factual Background

                                  21           The following allegations are taken from the Amended Complaint, which the Court must

                                  22   treat as true for purposes of this motion. This matter arose in connection with Fitbit’s marketing

                                  23   of its heart rate tracking devices and its initial public offering (“IPO”). Fitbit manufactures and

                                  24   provides wearable fitness-tracking devices. Dkt. No. 89, Am. Compl. (“AC”) ¶ 34. Fitbit’s

                                  25   products monitor a user’s fitness level by tracking daily activity statistics, including steps taken,

                                  26   distance traveled, calories burned, and stairs climbed. Id.

                                  27           In an October 27, 2014 press release, Fitbit announced its new “proprietary PurePulseTM

                                  28   optical heart rate technology” (“PurePulse”), which claimed to provide “continuous and automatic
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                                   1   wrist-based heart rate tracking, without an uncomfortable chest strap.” Id. ¶ 46. The press release

                                   2   announced two new products featuring PurePulse: the Fitbit Charge HR and the Fitbit Surge. Id.

                                   3   ¶ 52. Fitbit’s advertising for the Charge HR and Surge focused heavily on their heart rate and

                                   4   monitoring features, including slogans such as “Every Beat Counts.” Id. ¶ 60.

                                   5          On May 7, 2015, Fitbit filed a registration statement in connection with its IPO. Id. ¶ 36.

                                   6   The final amended registration statement was filed on June 6, 2015. Id. On or about June 18,

                                   7   2015, Fitbit completed its IPO. Id. ¶ 39. The company sold 22,387,500 shares of stock and

                                   8   certain other stockholders (including defendants Park, Friedman, Callaghan, and Murray)

                                   9   collectively sold 19,673,750 shares. Id. Net proceeds reached approximately $416 million. Id.

                                  10          On November 2, 2015, Fitbit filed a registration statement in connection with a secondary

                                  11   public offering. Id. ¶ 40. On or about November 13, 2015, Fitbit completed its secondary

                                  12   offering. Id. ¶ 42. The company sold 3,000,000 shares and certain other stockholders (including
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                                  13   defendants Park, Zerella, Friedman, Callaghan, and Murray) collectively sold 14,000,000 shares.

                                  14   Id. The company raised net proceeds of approximately $82.7 million. Id.

                                  15          The Amended Complaint alleges that “[t]he Charge HR and Surge sold very quickly,

                                  16   driving Fitbit’s revenues to grow rapidly in 2015.” Id. ¶ 69. The IPO Prospectus noted that the

                                  17   Charge HR and Surge were among “the primary drivers of our revenue growth in the first quarter

                                  18   of 2015.” Id. ¶ 70. Driven by sales of these products with PurePulse technology, Fitbit’s revenues

                                  19   reached $1.858 billion in 2015, compared to $745.4 million in 2014. Id. ¶ 76. Plaintiffs allege

                                  20   that because the heart rate monitoring was the key feature of Fitbit’s most important products, its

                                  21   accuracy was crucial to Fitbit’s business success. Id. ¶ 77.

                                  22          Plaintiffs allege that from January 5, 2016 to May 19, 2016, the truth about the inaccuracy

                                  23   of Fitbit’s heart rate tracking devices was revealed in a class action lawsuit and subsequent

                                  24   reporting and in a study on the accuracy of the devices. Id. ¶ 80. Fitbit’s stock fell from a high of

                                  25   $30.96 per share on January 5 to close at $13.99 per share on May 19. Id.

                                  26          Specifically, on January 5, 2016, a class action lawsuit, McLellan et al. v. Fitbit, Inc., 3:16-

                                  27   cv-00036-JD (N.D. Cal. Jan. 5, 2016) was filed in the U.S. District Court for the Northern District

                                  28   of California by purchasers of the Fitbit products, alleging that the heart rate monitoring systems
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                                   1   on the Charge HR and Surge were dangerously inaccurate and posed serious health risks to users.

                                   2   Id. ¶ 81. The complaint alleged that Fitbit’s devices significantly undercounted users’ heart rates,

                                   3   particularly during exercise, which created a risk of life-threatening overexertion. Id. ¶ 82. On

                                   4   January 5, 2016, Fitbit’s stock closed at $24.30 per share, down from a high of $30.96 earlier that

                                   5   day. Id. ¶ 85.

                                   6            After the close of trading on February 22, 2016, Indianapolis television news channel

                                   7   WTHR posted to its website the results of a study that found that the Charge HR had an average

                                   8   heart rate error of 14 percent, which it described as “bordering on dangerous.” Id. ¶ 93. On

                                   9   February 23, Fitbit’s stock price fell 27.9 percent to close at $13.08 per share. Id. ¶¶ 93-94.

                                  10            On May 19, 2016, the Amended Consolidated Master Class Action Complaint was filed in

                                  11   the McLellan purchaser class action. Id. ¶ 95. According to the Amended Complaint in this case,

                                  12   the amended McLellan complaint “contained the results of the most thorough study of Fitbit heart-
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                                  13   rate monitors performed to date.” Id. The study concluded that Fitbit devices “do not accurately

                                  14   measure a user’s heart rate, particularly during moderate to high intensity exercise, and cannot be

                                  15   used to provide a meaningful estimate of a user’s heart rate.” Id. ¶ 96. Following this news,

                                  16   Fitbit’s stock again fell on May 19, 2016, closing at $13.99. Id. ¶ 98.

                                  17

                                  18   II.      Current Matter

                                  19            Plaintiff Brian Robb filed this securities class action lawsuit on January 11, 2016, in

                                  20   connection with Fitbit’s marketing of its heart rate monitoring devices and its initial public

                                  21   offering. Dkt. No. 1. Fitbit Investor Group1 was appointed lead plaintiff on May 10, 2016. Dkt.

                                  22   No. 73. Plaintiffs filed their Amended Complaint on July 1, 2016, bringing suit against Fitbit,

                                  23   individuals at Fitbit, and underwriters of Fitbit’s IPO.2 Dkt. No. 89.

                                  24
                                                1
                                  25           The group consists of investors Timothy Flynn, Jesse M. Koth, Kelley Koth, Viet Tran,
                                       and Mark Cunningham.
                                  26
                                                2
                                                 Plaintiffs assert claims against Fitbit, Inc., James Park, William R. Zerella, Eric N.
                                  27   Friedman, Jonathan D. Callaghan, Steven Murray and Christopher Paisley (collectively “Fitbit
                                       defendants”); and Morgan Stanley & Co. LLC, Deutsche Bank Securities Inc., and Merrill Lynch,
                                  28
                                       Pierce, Fenner & Smith Inc. (collectively “Underwriter defendants”). AC ¶¶ 20-26, 29-31.
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                                   1          Plaintiffs allege that “[a]s a result of Defendants’ false and misleading statements about the

                                   2   accuracy of Fitbit’s heart rate-tracking, Fitbit securities were offered and traded at inflated prices.”

                                   3   Id. ¶ 99. Further, plaintiffs allege that after the inaccuracy of Fitbit’s heart rate tracking was

                                   4   revealed by the McLellan lawsuit, as well as by subsequent reporting and a study of the devices,

                                   5   Fitbit’s stock suffered a “precipitous decline,” losing 54.8 percent of its market value. Id. ¶¶ 80-

                                   6   81, 99. Plaintiffs argue that this caused them significant losses and damages. Id. ¶ 99.

                                   7          Plaintiffs bring claims under: (1) the Securities Exchange Act of 1934 (the “Exchange

                                   8   Act”), 15 U.S.C. § 78 et seq., on behalf of a class of all persons who purchased or otherwise

                                   9   acquired Fitbit securities on the open market between June 18, 2015 and May 19, 2016; and (2)

                                  10   the Securities Act of 1933 (the “Securities Act”), 15 U.S.C. § 77 et seq, on behalf of a class of all

                                  11   persons who purchased or otherwise acquired Fitbit A common stock pursuant and/or traceable to

                                  12   Fitbit’s IPO on or about June 18, 2015. Id. ¶¶ 1-4.
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                                  13          Plaintiffs allege violations of Section 10(b) of the Exchange Act, 15 U.S.C. § 78j(b),

                                  14   against defendants Fitbit, Park, Zerella, and Friedman. Id. ¶¶ 3, 38, 198-209. They allege that

                                  15   these defendants acted knowingly or were deliberately reckless in issuing materially false or

                                  16   misleading statements and/or failing to disclose material facts concerning the inaccuracy of

                                  17   Fitbit’s heart rate tracking devices.    Plaintiffs also allege violations of Section 20(a) of the

                                  18   Exchange Act, 15 U.S.C. § 78t(a), against defendants Park, Zerella, and Friedman by virtue of

                                  19   their role as control persons of Fitbit. Id. ¶¶ 3, 210-215.

                                  20          Plaintiffs allege violations of Section 11 of the Securities Act, 15 U.S.C. § 77k, against the

                                  21   Fitbit defendants and the Underwriter defendants. Id. ¶¶ 4, 27, 32-33, 216-225. They charge that

                                  22   defendants are strictly liable for issuing materially false or misleading statements and/or failing to

                                  23   disclose material facts concerning the inaccuracy of Fitbit’s heart rate tracking devices. Plaintiffs

                                  24   further allege violations of Section 15 of the Securities Act, 15 U.S.C. § 77o, against defendants

                                  25   Park, Zerella, and Friedman in their roles as control persons of Fitbit. Id. ¶¶ 4, 226-229.

                                  26          On July 29, 2016, the Fitbit defendants filed the present motion to dismiss. Dkt. No. 107.

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                                   1   The Underwriter defendants filed a motion to dismiss on August 5, 2016, and joined the Fitbit

                                   2   defendants’ motion as to the Section 11 claim. Dkt. No. 110. On August 25, 2016, the Court

                                   3   granted plaintiffs leave to file a single opposition brief not to exceed 35 pages. Dkt. No. 112.

                                   4

                                   5                                         LEGAL STANDARD

                                   6          To survive a Rule 12(b)(6) motion to dismiss, the plaintiff must allege “enough facts to

                                   7   state a claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570

                                   8   (2007). This “facial plausibility” standard requires the plaintiff to allege facts that add up to

                                   9   “more than a sheer possibility that a Defendant has acted unlawfully.” Ashcroft v. Iqbal, 556 U.S.

                                  10   662, 678 (2009). While courts do not require “heightened fact pleading of specifics,” a plaintiff

                                  11   must allege facts sufficient to “raise a right to relief above the speculative level.” Twombly, 550

                                  12   U.S. at 555, 570. “A pleading that offers ‘labels and conclusions’ or ‘a formulaic recitation of the
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                                  13   elements of a cause of action will not do.’ ” Iqbal, 556 U.S. at 678 (quoting Twombly, 550 U.S. at

                                  14   555). “Nor does a complaint suffice if it tenders ‘naked assertion[s]’ devoid of ‘further factual

                                  15   enhancement.’ ” Id. (quoting Twombly, 550 U.S. at 557). “While legal conclusions can provide

                                  16   the framework of a complaint, they must be supported by factual allegations.” Id. at 679.

                                  17          In reviewing a Rule 12(b)(6) motion, a district court must accept as true all facts alleged in

                                  18   the complaint, and draw all reasonable inferences in favor of the plaintiff. See al-Kidd v. Ashcroft,

                                  19   580 F.3d 949, 956 (9th Cir. 2009). However, a district court is not required to accept as true

                                  20   “allegations that are merely conclusory, unwarranted deductions of fact, or unreasonable

                                  21   inferences.” In re Gilead Scis. Sec. Litig., 536 F.3d 1049, 1055 (9th Cir. 2008). As a general rule,

                                  22   the Court may not consider any materials beyond the pleadings when ruling on a Rule 12(b)(6)

                                  23   motion. Lee v. City of L.A., 250 F.3d 668, 688 (9th Cir. 2001). However, pursuant to Federal

                                  24   Rule of Evidence 201, the Court may take judicial notice of “matters of public record,” such as

                                  25   prior court proceedings, without thereby transforming the motion into a motion for summary

                                  26   judgment. Id. at 688-89.

                                  27          If the Court dismisses a complaint, it must decide whether to grant leave to amend. The

                                  28   Ninth Circuit has “repeatedly held that a district court should grant leave to amend even if no
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                                   1   request to amend the pleading was made, unless it determines that the pleading could not possibly

                                   2   be cured by the allegation of other facts.” Lopez v. Smith, 203 F.3d 1122, 1130 (9th Cir. 2000)

                                   3   (citations and internal quotation marks omitted).

                                   4

                                   5                                             DISCUSSION

                                   6   I.      Exchange Act Claims

                                   7           Defendants Fitbit, Park, Zerella, and Friedman move to dismiss plaintiffs' Section 10(b)

                                   8   claim against them on the basis that the Amended Complaint fails to adequately allege any

                                   9   actionable misstatements and fails to plead scienter and loss causation. They also move to dismiss

                                  10   plaintiffs' Section 20(a) claim on the grounds that the complaint fails to adequately allege a

                                  11   primary violation under Section 10(b).

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                                  13           A.     Section 10(b)

                                  14           Section 10(b) of the Exchange Act makes it unlawful to “use or employ, in connection

                                  15   with the purchase or sale of any security . . . any manipulative or deceptive device or contrivance

                                  16   in contravention of such rules and regulations as the [SEC] may prescribe as necessary.” 15

                                  17   U.S.C. § 78j(b). A plaintiff asserting a claim under Section 10(b) or Rule 10b-5 must adequately

                                  18   allege six elements: (1) a material misrepresentation or omission by the defendant; (2) scienter; (3)

                                  19   a connection between the misrepresentation or omission and the purchase or sale of a security; (4)

                                  20   reliance upon the misrepresentation or omission; (5) economic loss; and (6) loss causation. Kelly

                                  21   v. Electronic Arts, Inc., 71 F. Supp. 3d 1061, 1068 (N.D. Cal. 2014) (citing Stoneridge Inv.

                                  22   Partners, LLC v. Scientific-Atlanta, Inc., 552 U.S. 148, 157 (2008); In re NVIDIA Corp. Sec.

                                  23   Litig., 768 F.3d 1046, 1051-52 (9th Cir. 2014)).

                                  24           The Private Securities Litigation Reform Act of 1995 (“PSLRA”) requires that a Section

                                  25   10(b) complaint plead with particularity both falsity and scienter.       Zucco Partners, LLC v.

                                  26   Digimarc Corp., 552 F.3d 981, 990-91 (9th Cir. 2009) (citation omitted). As to falsity, the

                                  27   complaint must state with particularity each statement alleged to have been misleading, the reason

                                  28   or reasons why the statement is misleading, and all facts on which that belief is formed. 15 U.S.C.
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                                   1   § 78u-4(b)(1); Daou, 411 F.3d 1006, 1014 (9th Cir. 2005) (citation omitted). As to scienter, the

                                   2   complaint must state with particularity facts giving rise to a strong inference that the defendant

                                   3   made false or misleading statements either intentionally or with deliberate recklessness. 15 U.S.C.

                                   4   § 78u-4(b)(2); Daou, 411 F.3d at 1015.

                                   5            Federal Rule of Civil Procedure 9(b) requires a plaintiff who alleges fraud or mistake to

                                   6   “state with particularity the circumstances constituting fraud or mistake.” Fed. R. Civ. P. 9(b).

                                   7   This requirement extends to securities fraud complaints. Zucco Partners, 552 F.3d at 990 (citing

                                   8   Semegen v. Weidner, 780 F.2d 727, 729, 734-35 (9th Cir. 1985)).

                                   9

                                  10                   1.      Alleged Misstatements

                                  11            Defendants Fitbit, Park, Zerella, and Friedman argue that the statements to which plaintiffs

                                  12   point are not false and misleading because none of the statements claim that PurePulse technology
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                                  13   is accurate at all times. Dkt. No. 107, Fitbit Mot. at 15. They argue that many of the statements

                                  14   are simply inactionable promotional slogans such as “every beat counts,” “make every beat

                                  15   count,” and “never miss a beat.” Id. They also argue that the post-IPO statements are not false

                                  16   and misleading because no reasonable investor would rely on such promises of perfection. Id. at

                                  17   16.    Plaintiffs counter that it was entirely reasonable for investors to interpret defendants’

                                  18   statements to mean, at a minimum, that Fitbit devices were consistently accurate, and that Fitbit’s

                                  19   public statements implied that its heart rate tracking was at least accurate enough for the

                                  20   consumers’ intended use of the devices. Dkt. No. 115, Opp. at 2.

                                  21            The Amended Complaint alleges that defendants made a number of materially false or

                                  22   misleading statements about the Charge HR and Surge, including the following statements, which

                                  23   defendants challenge as failing to meet the standard to state a claim under the Exchange Act.

                                  24            Plaintiffs allege that defendants’ pre-IPO statements in the October 2014 and January 2015
                                  25   press releases misled readers into believing that the devices could track every beat of a wearer’s
                                  26   heart, when in fact Fitbit’s devices were often highly inaccurate. AC ¶¶ 129, 134. Plaintiffs state
                                  27   that the October 2014 press release, “under the heading ‘Every Beat Counts with Fitbit Charge
                                  28   HR,’ described the Charge HR as ‘an advanced tracker that delivers continuous, automatic wrist-
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                                   1   based heart rate.’” Id. ¶ 129. The press release also stated that the device “applies Fitbit’s finely
                                   2   tuned algorithms to deliver heart rate tracking 24/7.” Id. The press release described the Surge
                                   3   device as providing “continuous wrist-based heart rate, all-day fitness tracking and smartwatch
                                   4   functionality in one device, for people dedicated to reaching their peak performance,” with the
                                   5   “most advanced tracking . . . on the market” and “comprehensive [workout] summaries with
                                   6   tailored metrics, workout intensity based on heart rate and calories burned.” Id. ¶ 132.
                                   7            The January 2015 press release described Fitbit’s PurePulse technology as “superior heart
                                   8   rate tracking” that is “continuous and automatic so the technology works no matter what you’re
                                   9   doing.” Id. ¶ 134. It described the Charge HR and Surge as follows:
                                  10            Superior heart rate tracking technology. Fitbit Charge HR and Fitbit Surge don’t
                                                just track resting heart rate—they both offer continuous, automatic heart rate
                                  11            tracking all day, all night and during workouts so you never miss a beat. PurePulse
                                                heart rate tracking provides more accurate calorie burn, the ability to maintain your
                                  12            workout intensity, maximize your training and optimize your all day health and
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                                                fitness.
                                  13

                                  14   Id.

                                  15            Plaintiffs further allege that statements by defendant Park in a March 19, 2015 interview in

                                  16   Time Magazine and in a subsequent March 27, 2015 interview in the Washington Post created a

                                  17   misleading impression that Fitbit Surge was capable of accurately measuring a wearer’s heart rate.

                                  18   Id. ¶ 139. They allege that Park stated in Time, “I think there’ll be a next big leap in benefits once

                                  19   we tie into more detailed clinical research and cross the hurdles and dialogue with the FDA about

                                  20   what we can do for consumers and what’s regulated or not.” Id. ¶ 137. The article also stated,

                                  21   “Park says that consumer-oriented wearable technology produced by companies like Fitbit could

                                  22   further help customers in the coming few years by making sense of data and making ‘lightweight’

                                  23   medical diagnoses.” Id. ¶ 138. In the Washington Post article, defendant Park is quoted as stating

                                  24   that PurePulse was “the result of three years of R&D effort by our team.” Id. ¶ 139. The article

                                  25   also stated that Park’s “heart rate was 69 beats per minute when we wrapped up our conversation,

                                  26   according to the Fitbit Surge he was wearing. (That was up slightly from his resting heart rate, 60

                                  27   beats per minute).” Id. Plaintiffs allege this last statement “creates a misleading impression that

                                  28   Fitbit Surge is capable of accurately measuring a wearer’s heart rate to the point that a 9 beat per
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                                   1   minute difference in readings is meaningful.” Id.

                                   2          The IPO Prospectus Summary, stated, in part: “We dedicate significant resources to

                                   3   developing proprietary sensors, algorithms, and software to ensure that our products have highly

                                   4   accurate measurements, insightful analytics, compact sizes, durability, and long battery lives.” Id.

                                   5   ¶ 112. The Prospectus also claimed, “[o]ur devices . . . feature proprietary and advanced sensor

                                   6   technologies and algorithms as well as high accuracy and long battery life.” Id. ¶ 114. The

                                   7   Prospectus claimed to enable its users “to automatically and continuously track their heart rate

                                   8   during everyday activity and exercise.” Id. ¶ 115.

                                   9          Plaintiffs allege that, following the June 18, 2015 IPO, defendants continued to make

                                  10   materially false or misleading statements. In an interview published on June 25, 2015, plaintiffs

                                  11   quote defendant Park as giving the following exchange:

                                  12          [Q]: Will anyone in wrist-wearables get optical heart rate sensors right?
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                                  13          [Park]: That’s implying that they’re all wrong today, which I disagree with. With
                                              any technology there’s always a tradeoff. In some cases, there’s accuracy in certain
                                  14          situations.
                                  15          [Q]: Are you pleased with the optical HR tracking on the Surge?
                                  16          [Park]: I wear it 24/7 so I’m happy with it.
                                  17          [Q]: But not everyone is.
                                  18          [Park]: Look, there are tradeoffs . . . With research and advancements in
                                              technology, there are always going to be major advancements in accuracy, battery
                                  19          life and form factor.
                                  20   Id. ¶ 141.

                                  21          Plaintiffs allege that statements made by defendant Park in an August 5, 2015 earnings call

                                  22   falsely implied that PurePulse technology was “ready” for the purposes for which Fitbit advertised

                                  23   the Charge HR and Surge, when in fact, Fitbit’s heart rate tracking devices were frequently

                                  24   inaccurate and were particularly inaccurate during high-intensity activities. Id. ¶ 143. This

                                  25   included statements by Park that “the PurePulse technology in Charge HR and Surge took many,

                                  26   many years to develop and perfect. The key thing for us is we will only launch products when we

                                  27   feel that they’re ready.” Id. ¶ 142.

                                  28          Plaintiffs allege that the Secondary Offering Prospectus, filed on November 13, 2015, was
                                                                                        9
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                                   1   materially false and misleading because it said that Fitbit’s heart rate tracking devices had “highly

                                   2   accurate measurements” at all times, when in fact the devices were frequently inaccurate,

                                   3   particularly during high intensity activities. Id. ¶ 144. According to the Amended Complaint, the

                                   4   Secondary Prospectus “repeated verbatim each of the IPO Prospectus’s . . . false and misleading

                                   5   statements about the accuracy of Fitbit’s heart-rate monitoring, and about the ability of Fitbit

                                   6   devices to track heart rates during high intensity activities” that plaintiffs cited. Id. ¶ 145.

                                   7           Lastly, plaintiffs allege that statements in a November 23, 2015 press release after the

                                   8   Secondary Offering were materially false and misleading. Id. ¶ 148. These included statements

                                   9   that “Fitbit’s proprietary PurePulse heart rate technology has been updated to provide users with

                                  10   an even better heart rate tracking experience during and after high intensity workouts like boot

                                  11   camp and Zumba.” Id. ¶ 147. The press release also stated that “Fitbit is dedicated to developing

                                  12   the most consistently accurate wrist-based activity trackers on the market. This software update
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                                  13   improves upon an already positive heart rate tracking offering.” Id.

                                  14

                                  15                   2.      Actionable Misstatements

                                  16           The Court determines that plaintiffs have alleged misstatements in the Amended

                                  17   Complaint which are actionable under securities law.

                                  18           The Ninth Circuit has defined the point at which a projection of optimism becomes an

                                  19   actionable, “factual” misstatement under section 10(b), namely, when: “(1) the statement is not

                                  20   actually believed, (2) there is no reasonable basis for the belief, or (3) the speaker is aware of

                                  21   undisclosed facts tending seriously to undermine the statement's accuracy.” Kaplan v. Rose, 49

                                  22   F.3d 1363, 1375 (9th Cir. 1994) (citations omitted). By contrast, statements that merely express

                                  23   confidence in a company’s business and outlook are vague assertions of corporate optimism and

                                  24   are not actionable under federal securities laws. City of Royal Oak Ret. Sys. v. Juniper Networks,

                                  25   Inc., 880 F. Supp. 2d 1045, 1064 (N.D. Cal. 2012) (citing Wozniak v. Align Tech., Inc., 850 F.

                                  26   Supp. 2d 1029, 1036 (N.D. Cal. 2012)).

                                  27           Here, plaintiffs have alleged factual misstatements made by Fitbit both before and after the

                                  28   IPO and in the IPO Prospectus. For example, plaintiffs point to the October 2014 and January
                                                                                          10
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                                   1   2015 press releases, which claimed that the Charge HR and Surge devices “deliver[] continuous,

                                   2   automatic wrist-based heart rate,” “deliver heart rate tracking 24/7,” provide “continuous wrist-

                                   3   based heart rate,” and provide “continuous, automatic heart rate tracking all day, all night and

                                   4   during workouts . . . .”    See AC ¶¶ 129, 132, 134. The Amended Complaint alleges that

                                   5   statements in the IPO Prospectus regarding the devices’ accuracy and suitability for high intensity

                                   6   activity were materially false and misleading because Fitbit’s heart rate tracking devices were

                                   7   frequently inaccurate and were particularly inaccurate during exercise. Id. ¶ 116. The Prospectus

                                   8   claimed that Fitbit devices “have highly accurate measurements,” have “high accuracy,” and

                                   9   “automatically and continuously track [users’] heart rate during everyday activity and exercise.”

                                  10   See id. ¶¶ 112-115. Plaintiffs allege that Fitbit made similar statements following the IPO, when

                                  11   the Secondary Offering Prospectus continued to describe Fitbit devices as having “highly accurate

                                  12   measurements” at all times. See id. ¶ 144.
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                                  13          Plaintiffs also point to Brickman v. Fitbit, Inc., a consumer action in which the court held

                                  14   that Fitbit’s use of certain promotional language concerning its devices’ sleep tracking

                                  15   functionality was not inactionable puffery and could thus support fraud allegations at the motion

                                  16   to dismiss phase. No. 15-cv-02077-JD, 2016 WL 3844327, at *3 (N.D. Cal. July 15, 2016); see

                                  17   also Opp. at 17. In that case, the court noted, “[A]dvertising which merely states in general terms

                                  18   that one product is superior is not actionable” but “misdescriptions of specific or absolute

                                  19   characteristics of a product are actionable.” Id. (citing Cook, Perkiss & Liehe, Inc. v. N. Cal.

                                  20   Collection Serv., Inc., 911 F.2d 242, 246 (9th Cir. 1990)). Plaintiffs there alleged that Fitbit

                                  21   represented that its product could “track sleep” when in fact it could only “measure movement and

                                  22   cannot track sleep.” Id. at *2. Likewise here, plaintiffs have alleged that Fitbit claims that its

                                  23   devices could “automatically and continuously track their heart rate during everyday activity and

                                  24   exercise” when in fact the devices could not. See, e.g., AC ¶ 151.

                                  25          It is true, of course, that “vague, generalized assertions of corporate optimism or statements

                                  26   of ‘mere puffing’ are not actionable material misrepresentations under federal securities laws

                                  27   because no reasonable investor would rely on such statements.” Royal Oak, 880 F. Supp. 2d at

                                  28   1063 (citing In re Impac Mortg. Holdings, Inc. Sec. Litig., 554 F. Supp. 2d 1083, 1096 (C.D. Cal.
                                                                                       11
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                                   1   2008)) (internal quotation marks omitted).         Plaintiffs do assert some statements which, in

                                   2   isolation, would be non-actionable under these standards. For instance, statements by defendant

                                   3   Park in which he muses that “there’ll be a next big leap in benefits once we tie into more detailed

                                   4   clinical research” or in which he states that he wears his Surge device “24/7” and is “happy with

                                   5   it” are statements of opinion and corporate optimism upon which no reasonable investor would

                                   6   rely.3 See AC ¶¶ 137, 141.

                                   7           Defendants also attack the complaint as failing to plead facts demonstrating the falsity of

                                   8   Fitbit’s statements, arguing that the customer complaints, studies, and confidential witness

                                   9   statements in the Amended Complaint do not suffice to prove that Fitbit’s devices could not do

                                  10   what they claimed to do. Fitbit Mot. at 11. However, the Court finds defendants’ supporting

                                  11   authority to be distinguishable. This is not a case in which the plaintiffs rely on “customer

                                  12   complaints . . . on their own [to] establish the veracity of the allegations . . . .” See Curry v. Yelp,
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                                  13   Inc., No. 14-3547-JST, 2015 WL 1849037, at *8 (N.D. Cal. Apr. 21, 2015) (citing In re Netflix,

                                  14   Inc. Sec. Litig., No. 04-2978-FMS, at *7 (N.D Cal. June 28, 2005)). Nor is this a case in which

                                  15   the Court is left to speculate whether Fitbit’s product was “highly accurate compared to what?” as

                                  16   Judge Breyer was left to wonder in In re Siebel Sys., Inc. Sec. Litig., No. 04-0983-CRB, 2005 WL

                                  17   3555718, at *3 (N.D. Cal. Dec. 28, 2005). In that case, the court found that just because “some

                                  18   customers were having problems using the [sales forecasting] program because it was too slow or

                                  19   took too many steps does not make the program a ‘highly inaccurate’ forecasting tool.” See

                                  20   Siebel, 2005 WL 3555718, at *3. Here, by contrast, plaintiffs have alleged not that users have

                                  21   difficulty using the product but that the product itself does not do the thing that it claims to do, i.e.,

                                  22   “automatically and continuously track their heart rate during everyday activity and exercise.” See

                                  23   AC ¶ 151.

                                  24           In sum, plaintiffs have pointed to numerous statements in which Fitbit claimed that its

                                  25
                                               3
                                  26              Nor is it clear that all of the alleged misstatements are in fact statements made by a
                                       defendant. For instance, the “statement” cited from the March 27, 2015 interview with defendant
                                  27   Park appears not to have been a statement that Park himself made but an observation made by the
                                       article’s author. See AC ¶ 139 (“His heart rate was 69 beats per minute when we wrapped up our
                                  28   conversation, according to the Fitbit Surge he was wearing. (That was up slightly from his resting
                                       heart rate, 60 beats per minute).”)
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                                   1   devices were able to track heart rates and could do so with a high degree of accuracy. Relying on

                                   2   multiple and varying sources, plaintiffs allege that the devices could not do this. Whether the

                                   3   statements were in fact false is not appropriate for resolution on a motion to dismiss. At this stage,

                                   4   plaintiffs have sufficiently alleged a material misrepresentation or omission by the defendant.

                                   5

                                   6                  3.      Scienter

                                   7          Defendants also challenge the Amended Complaint as failing to sufficiently plead scienter.

                                   8   “To adequately plead scienter, the complaint must . . . ‘state with particularity facts giving rise to a

                                   9   strong inference that the defendant acted with the required state of mind.’” Zucco Partners, 552

                                  10   F.3d at 991 (citing 15 U.S.C. § 78u-4(b)(2)). “[T]he inference of scienter must be more than

                                  11   merely ‘reasonable’ or ‘permissible’—it must be cogent and compelling, thus strong in light of

                                  12   other explanations.” Tellabs, Inc. v. Makor Issues & Rights, Inc., 551 U.S. 308, 324 (2007). “To
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                                  13   adequately demonstrate that the defendant acted with the required state of mind, a complaint must

                                  14   allege that the defendants made false or misleading statements either intentionally or with

                                  15   deliberate recklessness.” Zucco Partners, 552 F.3d at 991 (internal quotation marks and citation

                                  16   omitted).

                                  17          The Supreme Court has explained that the inquiry “is whether all of the facts alleged, taken

                                  18   collectively, give rise to a strong inference of scienter, not whether any individual allegation,

                                  19   scrutinized in isolation, meets that standard.” Tellabs, 551 U.S. at 322-23. The Ninth Circuit has

                                  20   instructed that “following Tellabs, we will conduct a dual inquiry: first, we will determine whether

                                  21   any of the plaintiff's allegations, standing alone, are sufficient to create a strong inference of

                                  22   scienter; second, if no individual allegations are sufficient, we will conduct a ‘holistic’ review of

                                  23   the same allegations to determine whether the insufficient allegations combine to create a strong

                                  24   inference of intentional conduct or deliberate recklessness.” Id. at 992.

                                  25

                                  26                          a.      Incentive to Inflate the Company’s Prospects

                                  27          Plaintiffs argue that in preparation for its IPO, Fitbit’s management had an incentive to

                                  28   inflate the company’s prospects to investors by failing to disclose that its PurePulse heart rate
                                                                                         13
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                                   1   monitoring technology was highly inaccurate, particularly during the very intense physical

                                   2   activities for which Fitbit expressly marketed it. AC ¶ 157. Plaintiffs emphasize that the Charge

                                   3   HR and Surge were key revenue drivers for the company and that, together with another Fitbit

                                   4   device, they provided the company with 80 percent of its 2015 revenue. Id. ¶ 152.

                                   5          Post-Tellabs, the Ninth Circuit has found that “[f]acts showing mere recklessness or a

                                   6   motive to commit fraud and opportunity to do so provide some reasonable inference of intent, but

                                   7   are not independently sufficient.” Reese v. Malone, 747 F.3d 557, 569 (9th Cir. 2014) (citing In re

                                   8   Silicon Graphics Inc. Sec. Litig., 183 F.3d 970, 979 (9th Cir. 1999), abrogated on other grounds

                                   9   by S. Ferry LP, No. 2 v. Killinger, 542 F.3d 776, 784 (9th Cir. 2008)). Rather, “to show a strong

                                  10   inference of deliberate recklessness, plaintiffs must state facts that come closer to demonstrating

                                  11   intent, as opposed to mere motive and opportunity.”           Silicon Graphics, 542 F.3d at 974.

                                  12   Accordingly, “particular facts giving rise to a strong inference of deliberate recklessness, at a
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                                  13   minimum” is required to satisfy the PSLRA’s heightened pleading standard. Id.

                                  14          Here, plaintiffs’ allegations, if true, provide a powerful incentive. However, without

                                  15   providing additional facts that go beyond demonstrating “mere motive and opportunity,”

                                  16   plaintiff’s allegations would fail adequately to plead intent or deliberate recklessness. Therefore,

                                  17   while the allegations regarding incentive may be relevant to a holistic inquiry into scienter, see

                                  18   below, the allegations in isolation fail to meet the heightened pleading standard under the PSLRA.

                                  19

                                  20                          b.     Individual Defendants’ Personal Use of Devices

                                  21          Plaintiffs allege that defendants Park, Zerella, and Friedman knew of the limited accuracy

                                  22   of Fitbit’s heart rate monitoring devices through their own personal use of these devices. AC

                                  23   ¶ 160. Plaintiffs specifically point to statements by Park that “[w]ith any technology there’s

                                  24   always a tradeoff” and that “there’s accuracy in certain situations” to suggest that he understood

                                  25   the limited accuracy of Fitbit’s heart rate monitoring devices. See id. ¶ 161.

                                  26          Defendants’ personal use of the devices, standing alone, cannot prove scienter. “[T]he

                                  27   inference of scienter must be more than merely ‘reasonable’ or ‘permissible’—it must be cogent

                                  28   and compelling, thus strong in light of other explanations.” Tellabs, 551 U.S. at 324. Though
                                                                                        14
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                                   1   defendants may have used the devices to track their own heart rates, there is no indication that they

                                   2   had any metric against which to compare these measurements in order to determine their accuracy.

                                   3   Their mere use of the devices thus fails to establish defendants’ knowledge of inaccuracy and,

                                   4   taken individually, does not prove scienter.

                                   5

                                   6                          c.       Stock Sales

                                   7          Plaintiffs allege that in a conference call with Fitbit investors and stock market analysts on

                                   8   November 2, 2015, Park stated, “Based on the Company’s execution in the third quarter, I’ve

                                   9   never been more confident in Fitbit’s future” and that less than two weeks later, Park sold 11

                                  10   percent of his Fitbit stock in the company’s secondary offering. AC ¶ 162.

                                  11          “Although ‘unusual’ or ‘suspicious’ stock sales by corporate insiders may constitute

                                  12   circumstantial evidence of scienter, . . . insider trading is suspicious only when it is ‘dramatically
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                                  13   out of line with prior trading practices at times calculated to maximize the personal benefit from

                                  14   undisclosed inside information.’” Silicon Graphics, 183 F.3d at 986 (citing In re Apple Computer

                                  15   Sec. Litig., 886 F.2d 1109, 1117 (9th Cir. 1989)). Three factors that must be considered in

                                  16   determining whether stock sales raise a strong inference of deliberate recklessness are: “(1) the

                                  17   amount and percentage of shares sold by insiders; (2) the timing of the sales; and (3) whether the

                                  18   sales were consistent with the insider's prior trading history.” Id. For individual defendants’ stock

                                  19   sales to raise an inference of scienter, standing alone, plaintiffs must also provide a “meaningful

                                  20   trading history” for purposes of comparison to the stock sales within the class period. See In re

                                  21   Vantive Corp. Sec. Litig., 283 F.3d 1079, 1095-96 (9th Cir. 2002), abrogated on other grounds by

                                  22   S. Ferry LP, 542 F.3d at 784.

                                  23          Here, plaintiffs do not provide any trading history for Park for purposes of comparison to

                                  24   other stock sales within the Exchange class period.4 Allegations that Park sold 11 percent of his

                                  25

                                  26          4
                                                 Plaintiffs also argue in their opposition brief that defendants Friedman and Zerella “sold a
                                  27   substantial amount of stock in the IPO.” Opp. at 27. They offer to amend their complaint in order
                                       to raise these allegations. Id. at 27 n.15. The Court finds that such amendment is unnecessary, in
                                  28   light of the Court’s ultimate ruling, explained below, that plaintiffs have sufficiently alleged
                                       scienter at this stage.
                                                                                          15
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                                   1   Fitbit stock during the secondary offering, without more, does not establish scienter.

                                   2

                                   3                          d.     Confidential Witness Statements

                                   4          Lastly, plaintiffs argue that statements from three confidential witnesses (“CW”)

                                   5   demonstrate that Fitbit executives were aware of the inaccuracy of the PurePulse devices.

                                   6          Complaints relying on confidential witness statements to establish scienter must pass two

                                   7   hurdles to satisfy the pleading requirements under the PSLRA. First, the confidential witnesses

                                   8   must be described with sufficient particularity to establish their reliability and personal

                                   9   knowledge. Zucco Partners, 552 F.3d at 995 (citing Daou, 411 F.3d at 1015-16). This means the

                                  10   complaint must provide sufficient detail about a confidential witness’s position within the

                                  11   defendant company to provide a basis for attributing the facts reported by them to the witness’s

                                  12   personal knowledge. Id. Second, those statements which are reported by confidential witnesses
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                                  13   with sufficient reliability and personal knowledge must themselves be indicative of scienter. Id.

                                  14          Here, statements by CW 1 and CW 2 are sufficient to establish scienter. According to the

                                  15   Amended Complaint, CW 1 was a data scientist who was a paid contractor and consultant at Fitbit

                                  16   from November 2014 to December 2015 and who was hired specifically to develop quality-

                                  17   assurance analytics for the Charge HR, Surge, and other devices. AC ¶ 164. CW 1 presented

                                  18   Fitbit Chief Operations Officer Hansgregory “Hans” C. Hartmann with monthly reports that

                                  19   documented and ranked various types of customer complaints and device failures. Id. ¶ 166. By

                                  20   June or July 2015, these monthly reports “noted significant issues with the accuracy of Fitbit’s

                                  21   heart-rate monitoring, relative to other types of failures.” Id. ¶ 167. CW 1 also noted that “Fitbit’s

                                  22   quality-assurance program consisted largely of a group of athletes who exercised while wearing

                                  23   Fitbit devices and then recorded the results,” that the Fitbit office had a dedicated area for this

                                  24   athlete testing, that in June and July 2015 the Fitbit employees who worked with this data “were

                                  25   focused entirely on testing and understanding the inaccuracies in Fitbit’s heart-rate monitoring,

                                  26   rather than on other issues,” and that defendant Park frequently visited the athlete testing area. Id.

                                  27   ¶¶171-74.

                                  28          Similarly, CW 2 was a contract fitness tester at Fitbit from April 2015 until July 2015. Id.
                                                                                        16
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                                   1   ¶ 175. CW 2 managed and supervised a team of eight to ten fitness testers as they performed

                                   2   various exercises while wearing Fitbit devices and managed the logging of their heart rate results.

                                   3   Id. ¶ 177. CW 2 ultimately reported to Fitbit Chief Operating Officer Hartmann. Id. The

                                   4   Amended Complaint alleges that CW 2 “found Fitbit’s heart-rate monitoring devices to be highly

                                   5   inaccurate, particularly during vigorous exercise” and that CW2 “reported that the results were

                                   6   often inaccurate for users with either very light or very dark skin tones.” Id. ¶179.

                                   7          In addressing the first prong of the CW analysis, both CW 1 and CW 2 held positions that

                                   8   exposed them directly to data and consumer complaints on the Charge HR and Surge, establishing

                                   9   their reliability and personal knowledge of the alleged inaccuracies. Second, both CW 1 and CW

                                  10   2 reported directly to COO Hartmann, indicating scienter by Fitbit executives. These confidential

                                  11   witness statements suffice to plead scienter.

                                  12          However, statements by CW 3, standing alone, fail to establish scienter. CW 3 was an
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                                  13   executive assistant at Fitbit from January to July 2015. Id. ¶ 180. According to CW 3, because

                                  14   the athlete testing area was adjacent to a dining area, Fitbit employees were widely familiar with

                                  15   the testing area as well as with the underlying problems with the accuracy of Fitbit’s heart rate

                                  16   monitoring, and that defendant Zerella in particular was well aware of the testing area. Id. ¶¶ 180-

                                  17   81. The Court finds these allegations regarding scienter to be conclusory and that CW 3’s

                                  18   statements fail to plead scienter.

                                  19

                                  20                          e.      Holistic Review

                                  21          In addition to the statements by CW 1 and CW 2, the above allegations, taken holistically

                                  22   per Tellabs, also establish scienter. Where none of a complaint’s allegations of scienter are

                                  23   individually cogent or compelling enough to survive under the PSLRA, courts must also “consider

                                  24   the complaint in its entirety” to determine whether “all of the facts alleged, taken collectively, give

                                  25   rise to a strong inference of scienter.” Tellabs, 511 U.S. 322-23. “Tellabs permits a series of less

                                  26   precise allegations to be read together to meet the PSLRA requirement.” S. Ferry LP, 542 F.3d at

                                  27   784. When conducting this holistic review, courts must “take into account plausible opposing

                                  28   inferences” that could weigh against a finding of scienter. Tellabs, 511 U.S. 323. “Even if a set of
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                                   1   allegations may create an inference of scienter greater than the sum of its parts, it must still be at

                                   2   least as compelling as an alternative innocent explanation.” Zucco Partners, 552 F.3d at 1006.

                                   3          Taken together, the allegations in this case are at least as cogent or compelling as a

                                   4   plausible alternative inference, namely that Fitbit executives were simply unaware of the high

                                   5   degree of inaccuracy in PurePulse devices alleged. Particularly given the contributions these

                                   6   devices made to Fitbit’s revenue stream in 2015, and the allegations by CW 1 and CW 2, the

                                   7   Court finds that a holistic review of the allegations suffices to establish scienter.

                                   8

                                   9                  4.      Loss Causation

                                  10          Lastly, defendants argue that plaintiffs’ Section 10(b) claim should be dismissed for failure

                                  11   to plead loss causation because the complaints in the McLellan consumer lawsuit and the local

                                  12   news report on Fitbit’s heart rate tracking did not reveal to the market that Fitbit’s challenged
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                                  13   statements were false or misleading. Fitbit Mot. at 23. Defendants argue that at most these events

                                  14   revealed the potential that a misstatement existed, which they argue is insufficient under Ninth

                                  15   Circuit law. Id.

                                  16          “[T]o prove loss causation, the plaintiff must demonstrate a causal connection between the

                                  17   deceptive acts that form the basis for the claim of securities fraud and the injury suffered by the

                                  18   plaintiff.” Daou, 411 F.3d at 1025 (citing Dura Pharm., Inc. v. Broudo, 544 U.S. 336, 346

                                  19   (2005)). “A complaint fails to allege loss causation if it does not ‘provide[ ] [a defendant] with

                                  20   notice of what the relevant economic loss might be or of what the causal connection might be

                                  21   between that loss and the misrepresentation.’” Metzler Inv. GMBH v. Corinthian Colls., Inc., 540

                                  22   F.3d 1049, 1062 (9th Cir. 2008) (quoting Dura, 544 U.S. at 347). A plaintiff must only allege

                                  23   “facts that, if taken as true, plausibly establish loss causation.” In re Gilead Scis. Litig., 536 F.3d

                                  24   at 1057.

                                  25          The Amended Complaint alleges, “Over the course of January 5, 2016 to May 19, 2016,

                                  26   the truth about the inaccuracy of Fitbit’s heart-rate tracking devices was revealed in a lawsuit,

                                  27   subsequent reporting, and finally a comprehensive study of Fitbit devices’ heart-rate tracking

                                  28   accuracy” and that as a result, “Fitbit’s stock price fell from a high of $30.96 on January 5 to close
                                                                                          18
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                                   1   at $13.99 on May 19,” an overall loss of 54.8 percent in value. AC ¶ 13. Whether the stock drop

                                   2   was due to other factors is a factual inquiry better suited for determination on summary judgment

                                   3   or trial, rather than at the pleading stage. See McCabe v. Ernst & Young, LLP, 494 F.3d 418, 427

                                   4   n.4 (3d Cir. 2007); Emergent Capital Inv. Mgmt., LLC v. Stonepath Group, Inc., 343 F.3d 189,

                                   5   197 (2d Cir. 2003). Accordingly, the Court finds that as a pleading matter, plaintiffs have

                                   6   sufficiently alleged loss causation. The Court therefore DENIES the motion to dismiss plaintiffs’

                                   7   Section 10(b) claim.

                                   8

                                   9            B.     Section 20(a)

                                  10            Plaintiffs also allege Section 20(a) claims against defendants Park, Zerella, and Friedman

                                  11   on a “control person” theory of liability. Section 20(a) of the Exchange Act imposes liability on

                                  12   “control persons.” 15 U.S.C. § 78t(a). To establish liability under Section 20(a), a plaintiff must
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                                  13   first prove a primary violation of Section 10(b) or Rule 10b-5. Lipton v. Pathogenesis Corp., 284

                                  14   F.3d 1027, 1035 n.15 (9th Cir. 2002).

                                  15            As plaintiffs have adequately alleged a primary violation under Section 10(b), defendants’

                                  16   motion to dismiss plaintiffs’ claim for control person liability under Section 20 is DENIED.

                                  17

                                  18   II.      Securities Act Claims

                                  19            Plaintiffs also allege claims under Sections 11 and 15 of the Securities Act. AC ¶ 217. All

                                  20   defendants—Fitbit defendants and Underwriter defendants—challenge plaintiffs’ Section 11

                                  21   claims, arguing that: (1) plaintiffs do not allege that the IPO Registration Statement contained any

                                  22   materially false or misleading statements and (2) plaintiffs do not allege any recoverable damages.

                                  23   Fitbit Mot. at 7-8; Dkt. No. 110, Underwriter Mot. at 1-2.

                                  24

                                  25            A.     Section 11

                                  26            Section 11 of the Securities Act of 1933 imposes liability on issuers, underwriters, and

                                  27   other participants in a public securities offering for any material misstatement of fact or material

                                  28   omission in the registration statement. 15 U.S.C. § 77k. Section 11(a) provides that where a
                                                                                        19
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                                   1   material fact is misstated or omitted from a registration statement accompanying a stock filing

                                   2   with the SEC, “any person acquiring such security” may bring an action for losses caused by the

                                   3   misstatement or omission. Id. § 77k(a). As with Section 10(b) of the Exchange Act, Section 11 of

                                   4   the Securities Act “require[s] a plaintiff adequately to allege a material misrepresentation or

                                   5   omission.” In re Stac Electronics Secs. Litig., 89 F.3d 1399, 1403 (9th Cir. 1996) (citation,

                                   6   internal quotation marks, and alteration omitted). “The plaintiff in a § 11 claim must demonstrate

                                   7   (1) that the registration statement contained an omission or misrepresentation, and (2) that the

                                   8   omission or misrepresentation was material, that is, it would have misled a reasonable investor

                                   9   about the nature of his or her investment.” Id. (citing Kaplan, 49 F.3d at 1371).

                                  10

                                  11                    1.      Actionable Misstatements

                                  12             The Court’s above discussion of plaintiffs’ allegations of false and misleading statements
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                                  13   under Section 10(b) of the Exchange Act applies equally to the Section 11 Securities Act claims,

                                  14   specifically to statements in the IPO Prospectus.           The allegedly false and misleading IPO

                                  15   statements for the Section 11 claim are included among those alleged in plaintiffs’ Section 10(b)

                                  16   claims.

                                  17             Nor do any risk disclosures in the Registration Statement negate this finding, as the

                                  18   Underwriter defendants argue. See Underwriter Mot. at 4; Dkt. No. 108, Keats Decl. Ex. A.5

                                  19   Defendants cite to a portion of the Prospectus that states:

                                  20             Furthermore, our products are used to track and display various information about
                                                 users’ activities, such as daily steps taken, calories burned, distance traveled, floors
                                  21             climbed, active minutes, sleep duration and quality, and heart rate and GPS-based
                                                 information such as speed, distance, and exercise routes. In the past, there have
                                  22             been reports and claims made against us alleging that our products do not provide
                                                 accurate measurements and data to users, including claims asserting that certain
                                  23             features of our products do not operate as advertised. Such reports and claims have
                                                 resulted in negative publicity, and, in some cases, have required us to expend time
                                  24             and resources to defend litigation. If our products fail to provide accurate
                                                 measurements and data to users, or if there are reports or claims of inaccurate
                                  25

                                  26             5
                                                 Plaintiffs do not object to Fitbit defendants’ request for judicial notice of Exhibits A-V
                                  27   attached to the Declaration of Ryan M. Keats. See Dkt. Nos. 108, 109. “In a securities fraud
                                       action, the court may take judicial notice of public records outside the pleadings, including SEC
                                  28   filings.” In re Nuko Info. Sys., Inc. Sec. Litig., 199 F.R.D. 338, 341 (N.D. Cal. 2000) (citation
                                       omitted). Accordingly, the Court takes judicial notice of Exhibits A-V.
                                                                                         20
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                                              measurements or claims regarding the overall health benefits of our products and
                                   1          services in the future, we may become the subject of negative publicity, litigation,
                                              including class action litigation, regulatory proceedings, and warranty claims, and
                                   2          our brand, operating results, and business could be harmed.
                                   3
                                       Keats Decl. Ex. A at 20 (emphases added); Fitbit Mot. at 4; Underwriter Mot. at 4. This statement
                                   4
                                       does not suffice to “render it implausible that any reasonable investor would have been misled”
                                   5
                                       regarding the accuracy of Fitbit’s heart rate tracking devices. See Underwriter Mot. at 4. The
                                   6
                                       statement does not disclose that there were presently, at the time of the IPO, indications that
                                   7
                                       Fitbit’s heart rate monitoring technology was inaccurate, as the Amended Complaint alleges. It
                                   8
                                       states only that “in the past” such claims generally had been made regarding “certain features of
                                   9
                                       our products” and that “if” in the future the “products fail to provide accurate measurements” then
                                  10
                                       Fitbit’s business “could be harmed.” See Keats Decl. Ex. A at 20.
                                  11
                                              The Court therefore finds that, as with the Section 10(b) allegations, the Amended
                                  12
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                                       Complaint sufficiently states actionable misrepresentations under Section 11 at this time.
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                                  13

                                  14
                                                      2.     Loss Causation/Recoverable Damages
                                  15
                                              Defendants also move to dismiss plaintiffs’ Section 11 claim based on an argument that
                                  16
                                       plaintiffs have not adequately alleged that their damages were caused by the alleged
                                  17
                                       misstatements. Fitbit Mot. at 13; Underwriter Mot. at 8. They argue that, although it is the
                                  18
                                       defendants’ burden to prove the affirmative defense of negative causation, the Amended
                                  19
                                       Complaint shows that plaintiffs are not entitled to damages because they allege only one corrective
                                  20
                                       disclosure prior to the filing of their lawsuit, and that the stock price remained above the initial
                                  21
                                       offering price several days after that disclosure.     Fitbit Mot. at 13; Underwriter Mot. at 8.
                                  22
                                       Plaintiffs counter that defendants have not met their burden of proving negative causation and that
                                  23
                                       in any event the Amended Complaint alleges that Fitbit stock traded below the initial offering
                                  24
                                       price when plaintiffs filed this lawsuit on January 11, 2016. Opp. at 18-19.
                                  25
                                              Section 11 allows plaintiffs to recover damages “as shall represent the difference between
                                  26
                                       the amount paid for the security (not exceeding the price at which the security was offered to the
                                  27
                                       public) and . . . the value thereof as of the time such suit was brought . . . .” 15 U.S.C. § 77k(e).
                                  28
                                                                                        21
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                                   1   The statute also provides, however, that “if the defendant proves that any portion or all of such

                                   2   damages represents other than the depreciation in value of such security resulting from such part

                                   3   of the registration statement, with respect to which his liability is asserted, . . . such portion of or

                                   4   all such damages shall not be recoverable.” Id.

                                   5          “The defendant has the burden of proof on this defense[,]” and courts have characterized

                                   6   the burden as a “heavy” one. In re Worlds of Wonder Sec. Litig., 35 F.3d 1407, 1422 (9th Cir.

                                   7   1994). A “defendant must show that the depreciation in value of a plaintiff’s stock resulted from

                                   8   factors other than the alleged material misstatement.” Hildes v. Arthur Andersen LLP, 734 F.3d

                                   9   854, 860 (9th Cir. 2013) (internal quotation marks omitted). A plaintiff is not required to plead

                                  10   loss causation in the complaint, and courts generally will not decide this issue at the motion to

                                  11   dismiss phase unless, “the facts as alleged by plaintiffs, and documents which the court may take

                                  12   judicial notice of, establish the . . . defense as a matter of law . . . .” In re Velti PLC Sec. Litig.,
Northern District of California
 United States District Court




                                  13   No. 13-3889-WHO, 2015 WL 5736589, at *27 (N.D. Cal. Oct. 1, 2015); In re Shoretel, Inc. Sec.

                                  14   Litig., No. 08-0271-CRB, 2009 WL 248326, at *4-5 (N.D. Cal. Feb. 2, 2009). “Overcoming a

                                  15   negative causation defense requires merely that ‘the misrepresentation touches upon the reasons

                                  16   for an investment’s decline in value.’” Hildes, 734 F.3d at 860 (quoting In re Worlds of Wonder,

                                  17   35 F.3d at 1422).

                                  18          The Court is not convinced by defendants’ arguments that this issue is appropriate for

                                  19   resolution at this stage. Plaintiffs have sufficiently alleged that Fitbit’s “misrepresentation touches

                                  20   upon the reasons for an investment’s decline in value.” See Hildes, 734 F.3d at 860. Plaintiffs

                                  21   allege that the filing of the McLellan consumer lawsuit on January 5, 2016, caused Fitbit stock

                                  22   prices to decline on that day and on the following days, through January 11, 2016, the date the

                                  23   original complaint in this case was filed. See AC ¶¶ 85-91, 197. They further allege that on

                                  24   January 11, 2016, “Fitbit’s stock traded at a low price of $18.35 per share and closed at $18.85 per

                                  25   share[,]” down from the IPO price of $20.00 per share. Id. ¶ 225.

                                  26          The Court is not persuaded that the cases defendants cite weigh in favor of dismissing

                                  27   plaintiffs’ Section 11 claims. For instance, In re Shoretel involved an allegation of a corrective

                                  28   disclosure in the form of a press release; however, the press release did not contain the
                                                                                         22
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                                   1   misstatements that plaintiffs had alleged, thereby entitling defendant to dismissal of the claim as a

                                   2   matter of law. Shoretel, 2009 WL 248326, at *5. The court in that case contrasted the facts to the

                                   3   situation in In re Daou, in which the Ninth Circuit reversed the dismissal of a complaint that

                                   4   “adequately alleged loss causation because the complaint alleged that the market had reacted to

                                   5   disclosure of the misstatements (improper revenue recognition) ‘as opposed to merely reacting to

                                   6   reports of the defendant’s poor financial health generally.’” Id. (citing Daou, 411 F.3d at 1026)

                                   7   (quoting Metzler, 540 F.3d at 1063). This case more closely mirrors Daou than Shoretel, as

                                   8   plaintiffs have alleged that the market reacted to the filing of the McLellan consumer lawsuit,

                                   9   which revealed the alleged misstatements regarding heart rate tracking accuracy.

                                  10          Accordingly, defendants’ motions to dismiss plaintiffs’ Section 11 claim is DENIED.

                                  11

                                  12          B.      Section 15
Northern District of California
 United States District Court




                                  13          Finally, plaintiffs allege Section 15 claims against defendants Park, Zerella, and Friedman

                                  14   on a “control person” theory of liability. See AC ¶¶ 228-229. As plaintiffs adequately alleged a

                                  15   primary violation under Section 11 of the Securities Act, defendants’ motion to dismiss the claim

                                  16   for control person liability under Section 15 is DENIED.

                                  17

                                  18                                            CONCLUSION

                                  19          For the foregoing reasons and for good cause shown, the Court hereby DENIES

                                  20   defendants’ motions to dismiss.

                                  21

                                  22          IT IS SO ORDERED.

                                  23

                                  24   Dated: October 26, 2016

                                  25                                                   ______________________________________
                                                                                       SUSAN ILLSTON
                                  26                                                   United States District Judge
                                  27

                                  28
                                                                                        23
